[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.] ORDER RE: VISITATION
The Court orders the following: CT Page 563-P
1. Summer: Plaintiff shall have parenting time Monday morning until Wednesday at 6:00 p. m. Defendant shall not schedule appointments for the children during those times unless it is unavoidable. Each parent shall have one exclusive week during the summer. If either plaintiff or defendant wishes to have two exclusive weeks, the other party may also have two exclusive weeks. The vacation shall also supersede regular visitation. The parties shall notify one another of the week or weeks chosen no later than May 31st of each year.
2. School Year: Plaintiff shall have parenting time every Sunday from 9:00 a.m. to 6:00 p. m. and every other Saturday evening overnight, from 5:30 p. m., except that defendant may choose one full weekend each month, exclusive of the holiday schedule for parenting time with the defendant. During overnight weekends, plaintiff will assist in homework. Following defendant's full weekend, plaintiff may see the children Wednesday evening from 5:30 p. m. to 8:00 p. m., and will provide the transportation.
3. Birthdays: Each parent may spend time with the child on that child's birthday. All four children (M and U) shall be invited to any family birthday party, and all parents shall use good faith efforts to allow all children to attend. CT Page 563-Q
4. Holidays: The parents will share holidays in accordance with the attached schedule. Holiday scheduled will supersede the regular schedule.
Holidays:                   Even Years              Odd Years ------------------------------------------------------------- New Year's Day              Defendant               Plaintiff Martin Luther King Day      Plaintiff               Plaintiff President's Days            Defendant               Defendant Easter 8:a.m. to 2:p. m.    Defendant               Plaintiff 2:p. m. to 8:p. m.    Plaintiff               Defendant Mother's Day                Plaintiff               Plaintiff Memorial Day                Defendant               Plaintiff Father's Day                Defendant               Defendant July 4th                    Plaintiff               Defendant Labor Day                   Plaintiff               Defendant Columbus Day                Plaintiff               Plaintiff Halloween (return by 8:30 p. m.)                 Plaintiff               Defendant Veteran's Day               Defendant               Plaintiff Thanksgiving                Defendant               Defendant Christmas Eve 9:00 p. m. to 1:00 p. m. on Christmas Day                        Plaintiff               Plaintiff CT Page 563-R
5. Additional Parenting Time: The parenting time specifically listed for plaintiff snot meant to be the only parenting time plaintiff shall have. The parties shall cooperate with one another to arrange additional reasonable time as their schedules and the children's schedule allow.
6. Telephone contact: Each parent shall have a reasonable telephone contact with the children when they are with the other parent.
7. Notification: Each parent shall notify the other, in advance, of an address and phone number if the parent will be outside the State of Connecticut for three or more successive nights.
8. Transportation: Plaintiff will pick up the children on Saturday evenings and return them on Sunday or Monday evenings. Defendant will bring the children on Sunday mornings and pick them up on Tuesday evenings. The parties will cooperate if either parent experiences a transportation problem.
9. Child Support: The Court hereby schedules the matter of child support and allowance for extended visitation for the April 7 short calendar. CT Page 563-S
10. Tax Deduction: The defendant father shall claim both children as exemptions for Federal Income Tax purposes.
DRANGINIS, J.